

Lewis v Pierce Bainbridge Beck Price &amp; Hecht LLP (2021 NY Slip Op 06807)





Lewis v Pierce Bainbridge Beck Price &amp; Hecht LLP


2021 NY Slip Op 06807


Decided on December 07, 2021


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: December 07, 2021

Before: Acosta, P.J., Gische, Webber, Friedman, Kennedy, JJ. 


Index No. 652931/19 Appeal No. 14793-14793A Case No. 2020-04754, 2020-04755 

[*1]Donald Lewis, Plaintiff-Appellant,
vPierce Bainbridge Beck Price &amp; Hecht LLP et al., Defendants, Putney, Twombly, Hall &amp; Hirson LLP et al., Defendants-Respondents.


The Law Offices of Neal Brickman, P.C., New York (Neal Brickman of counsel), for appellant.
Rivkin Radler LLP, Uniondale (Evan H. Krinick of counsel), for respondents.



Judgment, Supreme Court, New York County (Andrea Masley, J.), entered July 15, 2020, dismissing the action as against defendants Putney, Twombly, Hall &amp; Hirson LLP and Michael Yim, unanimously affirmed, without costs. Appeal from order, same court and Justice, entered May 20, 2020, unanimously dismissed, without costs, as subsumed in the appeal from the judgment.
Plaintiff's claims against defendants Putney, Twombly, Hall &amp; Hirson LLP and Michael Yim (collectively Putney) arise out of Putney's work leading defendant Pierce Bainbridge Beck Price &amp; Hecht LLP's internal investigation into sexual misconduct allegations made against plaintiff by a colleague. The motion court properly determined that the complaint failed to set forth nonconclusory allegations of fraud, collusion, and malicious acts sufficient to support plaintiff's claims against Putney (see Estate of Schneider v Finmann, 15 NY3d 306, 308-309 [2010]; Halevi v Fisher, 81 AD3d 504, 505 [1st Dept 2011], lv denied 16 NY3d 711 [2011]; Benzemann v Citibank N.A., 149 AD3d 586 [1st Dept 2017], appeal dismissed 33 NY3d 973 [2019]; Pursuit Inv. Mgt. LLC v Alpha Beta Capital Partners, L.P., 127 AD3d 580 [1st Dept 2015]).THIS CONSTITUTES THE DECISION AND ORDER
OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: December 7, 2021








